                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                              DOCKET NO. 3:11CR190-MOC-DSC

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )              PRELIMINARY ORDER
               v.                                )                OF FORFEITURE
                                                 )                 (BY CONSENT)
(1) BONNIE KNIGHT BRIDGES,                       )
                                                 )
                       Defendant.                )

       In the Bill of Information in this case, the United States sought forfeiture of property of the

Defendant as property that was proceeds of and/or was used to facilitate the crimes charged, together

with any other substitute property, which would be subject to forfeiture under 21 U.S.C. ' 853(p).

       Defendant entered into a plea agreement; subsequently pled guilty to counts one and two in

the Bill of Information; and was adjudged guilty of the offenses charged in those counts. In the plea

agreement, Defendant has agreed to forfeit property including substitute property, and in a separate

consent document has agreed to forfeiture of specific property as described below.

       It is therefore ORDERED:

       1. Based upon Defendant=s plea of guilty, the United States is authorized to seize the

following property, and it is hereby forfeited to the United States for disposition according to law;

provided, however, that such forfeiture is subject to any and all third party claims and interests,

pending final adjudication herein under 21 U.S.C. § 853(n):

       $11,338.00 in United States Currency;

       One 2002 Chevrolet Silverado, VIN 2GCEC19TX21101540;

       One 2003 Chevrolet Express G1500 van, VIN 1GCFG15X831153693;




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         One 2005 Chevrolet Avalanche, VIN 3GNEC12Z25G188285;

         One 1996 Harley Davidson Sportster motorcycle, VIN 1HD1CHP34TY229277;

         One 2006 Fleetwood camper, VIN 1EF1C282666011634;

         One 1998 Lincoln Navigator, VIN 5LMPU28L3WLJ31274; and

         Real property located at 114 Rustic Hills Circle, Bessemer City, North Carolina,

         described in deeds and/or other instruments recorded at Book 4458, page 1296; Book

         4477, page 2414 and Book 4126, page 717 in the Gaston County Public Registry.

         2. The terms and conditions of the consent document signed by the parties and filed with

the Government=s Motion are incorporated into this Order and may be enforced as part of this

Order.

         3. Pursuant to 21 U.S.C. ' 853(n)(1), the Government shall publish as required by law notice

of this Order and notice that any person, other than the Defendant, having or claiming a legal interest

in any of the above-listed forfeited property must file a petition with the Court within thirty days of

the final publication of notice or of receipt of actual notice, whichever is earlier. This notice shall

state that the petition shall be for a hearing to adjudicate the validity of the petitioner=s alleged

interest in the property, shall be signed by the petitioner under penalty of perjury, and shall set forth

the nature and extent of the petitioner=s right, title or interest in each of the forfeited properties and

any additional facts supporting the petitioner=s claim and the relief sought. The United States may,

as permitted by law and to the extent practicable, provide direct written notice to any person known

to have alleged an interest in property that is the subject of this Order of Forfeiture, as a substitute

for published notice.

      4. Upon adjudication of all third-party interests, this Court will enter a final order and
judgment of forfeiture pursuant to 21 U.S.C. ' 853(n).




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  SO ORDERED.                    Signed: October 15, 2012




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